                    Case: 1:19-cv-01686 Document #: 7 Filed: 03/20/19 Page 1 of 2 PageID #:63

AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                                  OURT




CHARLES F. GILBERT and SANDRA D.
GILBERT
                                                                CASE NUMBER:        1: 19-cv-0 1686
                                V.                              ASSIGNED JUDGE:
                                                                                    Hon. John Robert Blakey
 BMO HARRIS. N.A.: NATIONSTAR MOKTGAGE LLC. D/8/A MR. COOPER:
 AMERICAN HONDA HNANCE CORPORATION: FORD MOTOR CREDIT
 COMPANY LLC. D/8/A LINCOLN AUTOMOTIVE FINANCIAL SERVICES;
                                                                DESIGNATED
 TAMMAC HOLDINGS CORPORATION. D/8/A TAMMAC FINANCIAL: WELLS
 FARGO BANK. N.A.: TRANS UNION. LLC: and EQUlFAX INFORMATION    MAGISTRATE JUDGE:   Hon. Mary M. Rowland
 SERVICES. LLC




                    TO: ( Name and address of Defeodanc)
                  NATIONSTAR MORTGAGE LLC, D/B/A MR. COOPER
                  c/o REGISTERED AGENT
                  ILLINOIS CORPORATION SERVICE C
                  801 ADLAI STEVENSON DRIVE
                  SPRINGFIELD, IL 62703

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (oame and address)

                 Majdi Y. Hijazin
                 Sulaiman Law Group, Ltd.
                 2500 South Highland Avenue, Suite 200
                 Lombard, IL 60148


                                                                              21
an answer to the complaint which is herewith served upon you,        _________ days after service of this
summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                                          m.t�


                                                                                      arch 11, 2019
   Case: 1:19-cv-01686 Document #: 7 Filed: 03/20/19 Page 2 of 2 PageID #:64




CllentCaselD:                             56350                     CaseReturnDate:       3/16/19

                                                                            Affidavit of A PRIVATE INVESTIGATOR


       UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS
                                                                              Case Number 1: 19�CV-01686

I, JOHN J PENNELL
FIRST DULY SWORN ON OATH STATES THAT I AM OVER 18 YEARS OF AGE AND NOT A PARTY TO THIS SUIT AND IS
A REGISTERED AGENT OF THE ILLINOIS DEPARTMENT OF PROFESSIONAL REGULATION PRIVATE DETECTIVE
AGENCY ACT LICENSE NUMBER #117.001633


                                               CORPORATE SERVICE

THAT I SERVED THE WITHIN SUMMONS & COMPLAINT
ON THE WITHIN NAMED DEFENDANT NATIONSTAR MORTGAGE, LLC.
PERSON SERVED LYLE NEE MAN, AUTHORIZED AGENT
BY LEAVING A COPY OF EACH WITH THE SAID DEFENDANT ON 3/18/19




That the sex, race and approximate age of the whom I left the   SUMMONS & COMPLAINT
are as follow:

Sex    MALE       Race   WHITE           Age      68      Height     5'6"         Build     MEDIUM         Hair    GRY

LOSATION OF SERVICE
-------- 801 ADLAI STEVENSON DR.
                              SPRINGFIELD, IL, 62703                                                               �--


Date Of Service     3/18/19                 Time of Service     2:55 PM




                                                                                 PRIVATE DETECTIVE# 115.002074
                                                                                                                         \
Under penalties of perjury as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the undersigned     \':\
certifies that the statement are true and correct, except as to matters therein stated lo be on information a    ef and such �\
mattera tho w>deralgoed wrtlf<s as afoMsald fhal he/she ,erlly ben,,,, same lo �•_''."                         \\
                                                                                                              :�     ..

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